               Case 2:10-md-02179-CJB-DPC
                 Case  2:13-cv-01244-CJB-SS Document
                                            Document9989   Filed
                                                     3 Filed     05/15/13
                                                              05/02/13    Page
                                                                        Page 1 of12of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District
                                                   __________  DistrictofofLouisiana
                                                                            __________

                McGuire Oil Company, Inc.                           )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 2:13-cv-1244 J (1)
                                                                    )
    BP Exploration & Production, Inc.; BP America                   )
  Production Company; Halliburton Energy Services,                  )
    Inc.; and Sperry Drilling Services, a division of               )
           Halliburton Energy Services, Inc.                        )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                                           BP AMERICA PRODUCTION COMPANY
                                           The Corporation Trust Company
                                           Corporation Trust Center
                                           1209 Orange Street
                                           Wilmington, Delaware 19801

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

                                           Allison E. White
                                           Cunningham Bounds, LLC
                                           Post Office Box 66705
                                           Mobile, Alabama 36660

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk


               May 02 2013
Case 2:10-md-02179-CJB-DPC Document 9989 Filed 05/15/13 Page 2 of 2
